         Case 1:16-cv-01534-JEB Document 424 Filed 05/22/19 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                                     Case No. 1:16-cv-1534-JEB
                                                     (and Consolidated Case Nos. 16-cv-1796
                       Plaintiff,
                                                     and 17-cv-267)
       and

CHEYENNE RIVER SIOUX TRIBE,

                       Plaintiff-Intervenor,          NOTICE
                                                     0B




       v.

U.S. ARMY CORPS OF ENGINEERS,

                       Defendant-Cross
                       Defendant,

       and

DAKOTA ACCESS, LLC,

                       Defendant-Intervenor-
                       Cross Claimant.



       As required by Court Order, ECF 417 (May 8, 2019), Plaintiffs and plaintiff-intervenors

Standing Rock Sioux Tribe, Cheyenne River Sioux Tribe, Oglala Sioux Tribe, and Yankton

Sioux Tribe (collectively, “Tribes”) respectfully submit this Notice containing a list of sources

substantively cited in the Remand Analysis for a factual proposition.

       The list is as follows:




Notice
(No. 1:16-cv-1534-JEB) - 1                                                      1
         Case 1:16-cv-01534-JEB Document 424 Filed 05/22/19 Page 2 of 7




           Document                                                 Pages Cited in
                                                                    Remand Analysis 1  0F




    Charbendeau et al., 2000                                        RAR000011

    Charbeneau, 2003                                                RAR000011

    Freeze and Cherry 1979                                          RAR000011

    Kerr et al., 1999                                               RAR000011

    Muller, 1987                                                    RAR000011

    USEPA, 2016                                                     RAR000011

    Stantec, 2015                                                   RAR000012

    Marathon Oil 2010                                               RAR000012

    French McCay et al., 2011                                       RAR000025

    French McCay et al., 2012                                       RAR000025

    French McCay, 2016                                              RAR000025

    French et al., 1996                                             RAR000025

    French McCay, 2009                                              RAR000025

    Trudel et al. 1989                                              RAR000025

    French McCay 2004                                               RAR000025

    French McCay 2002                                               RAR000025

    DGTC, 2014                                                      RAR000093 n.25
                                                                    RAR8851

       Counsel for the Tribes have conferred with counsel for Defendant United States Army

Corps of Engineers (“Corps”) regarding sources substantively cited in the Remand Analysis for a



1
 The Remand Analysis was filed with the Court under seal as Exhibit A-1 to the Joint Appendix
of Remand Analysis Record (ECF 406).



Notice
(No. 1:16-cv-1534-JEB) - 2                                                  2
         Case 1:16-cv-01534-JEB Document 424 Filed 05/22/19 Page 3 of 7



factual proposition. As a result, the Corps has agreed to add some documents to the

administrative record. Further, the Tribes were satisfied that the Corps had valid reasons for not

providing other documents.

       The list above therefore includes only those documents cited for factual propositions in

the Remand Analysis that the Corps has advised the Tribes that it will not provide. The Corps’

position regarding these documents is that they need not be provided as part of the administrative

record of the remand because these documents were cited in the Spill Model Report (“SMR”) or

the environmental assessment (“EA”), and the Court ruled that documents cited in either the EA

or the SMR need not be provided as part of that record. The Corps intends to object to the

production of the listed documents as required by Court Order, ECF 417, for this reason. 2 1F




       The Tribes disagree with the Corps’ position. In its Memorandum Opinion, ECF 418, the

Court held that the administrative record should include documents cited by the Corps in the

Remand Analysis to support a factual proposition, ECF 418 at 6-7, but that documents cited in

the EA or the SMR need not be included in the record. Id. at 8-9. The Court’s reasoning on these

issues makes clear that the fact that a document was cited in either the EA or the SMR does not

immunize it from inclusion in the record if in fact is was cited in the Remand Analysis for a

factual proposition.

       Regarding documents cited in the EA, the Court ruled that the Tribes’ requests for such

documents “are moot given that the Court has already passed on the lawfulness of the agency

decision supported by that record.” ECF 418 at 9. Further, “Plaintiffs have not made any



2
 The Court Order provides that the Corps’ objections are to be filed within 14 days of this
Notice, or by June 5, 2019. The Order does not provide for any response by Plaintiffs. Should
Plaintiffs wish to file a response, we will do so within two days of the Corps’ filing.



Notice
(No. 1:16-cv-1534-JEB) - 3                                                      3
         Case 1:16-cv-01534-JEB Document 424 Filed 05/22/19 Page 4 of 7



showing that any of these documents were actually before agency decisionmakers in the remand

process.” Id.

       This is of course not so with the documents in the list above which, although cited in the

EA, were also cited in the Remand Analysis for factual propositions. The Court’s opinion makes

clear that these documents are part of the record because they were before the decisionmakers.

Regarding documents cited in the Remand Analysis, the Court stated:

       It is clear, at least, that Plaintiffs are entitled to more than what the Corps has now
       agreed to include in the record. For example, the Tribes specifically request an
       O’Reilly study cited by the Remand Analysis, contending its use is sufficient
       indication that agency decisionmakers considered it. See Pl. Mot. at 8-9. The
       Corps has agreed that that study is properly included in the record. See Def. Opp.
       at 17. Yet, as Plaintiffs point out, see Pl. Reply at 4-5, the Remand Analysis cites
       several additional studies on the same page for similar propositions. The Corps
       has not agreed to include those, nor explained how, in its view, the O’Reilly study
       is distinguishable from the others. There seem also to be additional sources in the
       Remand Analysis that, like those studies, are cited to support a factual
       proposition. And while the Corps is correct that a mere reference to a document
       is not sufficient to meet a movant’s burden to show that the agency actually
       considered it, see Franks v. Salazar, 751 F. Supp. 2d 62, 70 (D.D.C. 2010),
       citation of a source to support a factual proposition is generally enough to
       manifest actual consideration by the agency and support inclusion in the record.
       See Oceana, Inc. v. Ross, 290 F. Supp. 3d 73, 79-80 (D.D.C. 2018) (reasoning
       that “documents . . . that were cited substantively, i.e. to justify a factual statement
       or assertion made in the [decisional document] . . . [were] clearly considered”
       while “mere mention of a document’s existence” does not show agency
       consideration).

ECF 418 at 6-7 (emphasis added). Notwithstanding the clear language from the Court’s opinion,

the Corps continues to decline to provide “several additional studies [cited] on the same page [as

the O’Reilly study] for similar propositions.” The Court’s language made clear that the Corps

errs in doing so.




Notice
(No. 1:16-cv-1534-JEB) - 4                                                        4
         Case 1:16-cv-01534-JEB Document 424 Filed 05/22/19 Page 5 of 7



       Similarly, the Court’s ruling on the Plaintiffs’ request for documents cited in the SMR

does not support, and in fact dispels, the Corps’ reliance on the same for withholding documents

cited for factual propositions in the Remand Analysis. The Court stated:

       Plaintiffs’ request to include all documents cited within the DRR and SMR,
       however, falls short because they have offered no reasonable, non-speculative
       basis to believe that the agency considered those citations. The DRR and SMR
       were prepared by a third party, and although the Corps relied on them, there is no
       suggestion the agency also actually relied on the sources those reports cite.

ECF 418 at 7 (emphasis in original). The Court’s decision made clear that it applied to

documents cited within the SMR, a document that was prepared by a third party, and did not

limit in any way its decision on documents cited for factual propositions in the Remand Analysis,

which was prepared by the Corps.

                                         CONCLUSION

       The Court should order the Corps to complete the administrative record by adding to it

the documents cited on the above list.

       Respectfully submitted this 22nd day of May, 2019.



   /s/ Michael L. Roy
   Michael L. Roy (DC Bar No. 411841)
   mroy@hobbsstraus.com
   Jennifer P. Hughes (DC Bar No. 458321)
   jhughes@hobbsstraus.com
   Elliott A. Milhollin (DC Bar No. 474322)
   emilhollin@hobbsstraus.com
   Hobbs, Straus, Dean & Walker, LLP
   2120 L Street, NW, Suite 700
   Washington, DC 20037
   Telephone: (202) 822-8282
   Facsimile: (202) 296-8834
   Counsel for Oglala Sioux Tribe




Notice
(No. 1:16-cv-1534-JEB) - 5                                                    5
        Case 1:16-cv-01534-JEB Document 424 Filed 05/22/19 Page 6 of 7



   /s/ Jan E. Hasselman                         /s/ Jennifer S. Baker
   Jan E. Hasselman, WSBA # 29107               Jennifer S. Baker, NM # 28101
   (Admitted Pro Hac Vice)                      (Admitted Pro Hac Vice)
   Stephanie Tsosie, WSBA # 49840               Jeffrey S. Rasmussen, WA
   (Admitted Pro Hac Vice)                      #21121(Admitted Pro Hac Vice)
   Patti A. Goldman, DCBA # 398565              Fredericks Peebles & Patterson LLP
   Earthjustice                                 1900 Plaza Drive
   705 Second Avenue, Suite 203                 Louisville, CO 80027
   Seattle, WA 98104                            Telephone: (303) 673-9600
   Telephone: (206) 343-7340                    Facsimile (303) 673-9155
   jhasselman@earthjustice.org                  jbaker@ndnlaw.com
   stsosie@earthjustice.org                     Counsel for Yankton Sioux Tribe and
   pgoldman@earthjustice.org                    Robert Flying Hawk
   Counsel for Standing Rock Sioux Tribe


    /s/ Nicole E. Ducheneaux
   Big Fire Law & Policy Group LLP
   1404 South Fort Crook Road
   Bellevue, NE 68005
   Telephone: (531) 466-8725
   Facsimile: (531) 466-8792
   Email: nducheneaux@bigfirelaw.com

   /s/ Joseph V. Messineo
   Big Fire Law & Policy Group LLP
   1404 South Fort Crook Road
   Bellevue, NE 68005
   Telephone: (531) 466-8725
   Facsimile: (531) 466-8792
   Email: jmessineo@bigfirelaw.com

   /s/ Tracey A. Zephier
   Tracey A. Zephier, pro hac vice
   Cheyenne River Sioux Tribe
   Office of the Attorney General
   P.O. Box 590
   Eagle Butte, SD 57625
   Telephone: (605) 964-6686
   Facsimile (605) 964-1160
   Email:
   crstag@protonmail.com
   Counsel for Cheyenne River
   Sioux Tribe




Notice
(No. 1:16-cv-1534-JEB) - 6                                      6
         Case 1:16-cv-01534-JEB Document 424 Filed 05/22/19 Page 7 of 7



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2019, I electronically filed the foregoing Notice with the

Clerk of the Court using the CM/ECF system, which will send notification of this filing to the

attorneys of record and all registered participants.



                                               /s/ Michael L. Roy
                                               Michael L. Roy




Notice
(No. 1:16-cv-1534-JEB) - 7                                                     7
